Case: 3:23-cv-00156-TMR-PBS Doc #: 33-1 Filed: 08/11/23 Page: 1 of 1 PAGEID #: 233



                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION



 DAYTON AREA CHAMBER OF
 COMMERCE, et al.,

                     Plaintiffs,

           v.                                        Civil Action No. 3:23-cv-00156-TMR-PBS

 XAVIER BECERRA, et al.,                                       Judge Thomas M. Rose

                     Defendants.                         Magistrate Judge Peter B. Silvain, Jr.




                                    [PROPOSED] ORDER
         Upon consideration of Defendants’ motion to dismiss, and the entire record herein, it is

hereby

         ORDERED that Defendants’ motion is GRANTED; and it is further

         ORDERED that Plaintiffs’ complaint is DISMISSED, in its entirety, under Federal Rule of

Civil Procedure 12(b).

         SO ORDERED.


         Date:                                       ____________________________________
                                                     Thomas M. Rose
                                                     UNITED STATES DISTRICT JUDGE
